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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN




Eric Martin,

                                   Plaintiff(s),

v.                                                     Case No. 2:24−cv−11155−SJM−DRG
                                                       Hon. Stephen J. Murphy III
Robert Hurst, et al.,                                  Magistrate Judge David R. Grand

                                   Defendant(s).




                              NOTICE OF FILING FEE NOT PAID

    Take notice that a new case has been filed that requires either a filing fee or an application
to proceed in forma pauperis. This deficiency must be handled promptly.

   If the filing party is an e−filer, the fee should be paid online using pay.gov. To pay the fee,
log in to CM/ECF and select the appropriate "Pay Fee" event under the Other Documents
category.

  If the filing party is not an e−filer, accepted forms of payment are credit card, debit card,
money order or check made payable to Clerk, U.S. District Court.

   If the filing fee is not received by the Clerk's Office or if an application to proceed in forma
pauperis is not filed within fourteen calendar days of this notice, this case may be dismissed.




                                                   s/ L. Granger
                                                   Deputy Clerk



                                           Certification

   I hereby certify that on this date a copy of the foregoing notice was served upon the parties
and/or counsel of record by electronic means or first class U.S. mail.




                                                   s/ L. Granger
                                                   Deputy Clerk

Dated: May 1, 2024
